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                Analysis on 2(two) points reduction/decrease for Zero-points offender.
                Fetitjoner orbginal sentence determjnatïon has a crïmïnal hïstory catejory
          t2o months which is almost the 1ow range of level3O ïf theérzpoints retuctïon
           applïed, petitïoner should Le almost at the 1ow end of levelZJywhjch result ïn a
          new term of 9 C months, respecting the saye dïfference of the 1oW of the guidelines.

               * Orïjïnal sentence served to thjs date:lo- months
               * Good time earned for the resentencïnç:ia months
               * FSA time credjt already apglied to petitïoner:       Doae-             ,

               Under the discretïon of the honorable Judje, the Court makes two determçnatïons
          decïdïng whether or not to modify a sentence under 18 U.S.S. 3582 (c)(2). Fïrst,
         what sentence would have been ïmposed had retroactïve amendment been jn effect
         at the tïme the defendant Was sentenced,second, leavïng untouched a1) the others
         prevîous factual decïsjons concernbng the partïcularîzed sentencing factors, what
         sentence bt would have imposed, had the neW sentencïng range been the range at the
         tïme of the orïgfnai sentence. See U.S. v. Hyatt, 115 F.3d.606,609 (8th (ïrc.)


                                       C O N C L U S I O N.

              Hherefore, for the above mentïoned reasons, petïtïoner js entjtled to a
         redùctïon of sentence, petïtioner Frays that thïs Honorable Court GRAïT hïm
         thïs Motion for redcutïon of Sentence under amendment 821.


      dated on: M wwtk a           zozh- Respectfully Submitted,
                                             (bùP (kJr. ' n; pro se.
                                  CERTIFICATE OF SERkICE
    I>       c . t' . eon'hereby certify that 1 have served a true copy of the
    above styled motion upon the Unïted States District Court and a11 partbes of
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   which ïs deemed fîled at that time according to Houston v. Lack, 487 U.5 . 266
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